Case 1:18-cv-00950-PTG-JFA Document 79-3 Filed 01/22/19 Page 1of1 Pa 0 e EX 1610

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
ALEXANDRIA DIVISION

BMG RIGHTS MANAGEMENT (U8) LLC, and
ROUND HILL MUSIC LP,

Plaintiff, Case No. 1:14-cv-161] (LOG/JFA)

COX ENTERPRISES, INC., COX
COMMUNICATIONS, INC., and
COXCOM, LLC,

HIGHLY CONFIDENTIAL —
ATTORNEYS’ EYES ONLY —
SUBJECT TO PROTECTIVE ORDER

Defendants.

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DEFENDANT COX COMMUNICATIONS, INC.’S
FIRST SUPPLEMENTAL RESPONSES TO PLAINTIFFS’ FIRST
SET OF INTERROGATORIES

PROPOUNDING PARTY: PLAINTIFFS BMG RIGHTS MANAGEMENT (US) LLC AND
ROUND HILL MUSIC LP

RESPONDING PARTY: DEFENDANT COX COMMUNICATIONS, INC.

SET NUMBER: ONE (NOS. 1-11)

PX-1610,0001

